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 7   SARTAJ CHAHAL
 8                         UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )   CASE NO. CR-09-0125-FCD
12                                        )   ORDER GRANTING EX PARTE
                      Plaintiff,              APPLICATION TO FILE
13                                        )   MOTION UNDER SEAL
14                   vs.                  )
15                                        )
16   SARTAJ CHAHAL, et al.                )
17                                        )
                      Defendants.
18                                        )
       _____________________________
19
20
       GOOD CAUSE APPEARING THEREFOR,
21
       IT IS HEREBY ORDERED that the APPLICATION of defendant herein for
22
     an ORDER to file his Motion To Dismiss, as well as the Ex Parte
23
     Application to file under seal is hereby GRANTED.
24
25
26   DATED: January 11, 2010
27
                                          _______________________________________
28                                        FRANK C. DAMRELL, JR.
                                          UNITED STATES DISTRICT JUDGE



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